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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA oe
SECURITIES AND EXCHANGE COMMISSION, ) we tony Fa
) 2006 FER .
Plaintiff ) “BT Py 2:07
) Seed Spee
VS. ) 2:05-cv-531-PMP-GWF PET Ue
) By.
EXOTICS.COM, INC., et al., ) MINUTES OF COURT (Treen
)
Defendants. ) DATED: FEBRUARY 7, 2006
)
AND )
)
FLANAGAN & ASSOCIATES, LTD., )
)
Relief Defendant. )
)

PRESENT: THE HONORABLE GEORGE FOLEY, JR., United States Magistrate Judge

DEPUTY CLERK: _ KRIS SCHULKE | RECORDER/TAPE # NONE APPEARING

COUNSEL FOR PLAINTIFF: NONE APPEARING

COUNSEL FOR DEFENDANT: NONE APPEARING

MINUTE ORDER IN CHAMBERS:

The Court having reviewed the Stipulated Discovery Plan and Scheduling Order “Special Scheduling Review Requested”
(#61) filed on February 3, 2006.

IT IS HEREBY ORDERED that this matter is set for telephonic status conference on MONDAY, FEBRUARY 13,
2006, AT 9:30 A.M. with Silvestre A. Fontes, Esq., Sean T. Prosser, Esq., and James N. Barber, Esq. The court will initiate
the call and counsel are directed to contact Kris Schulke, Courtroom Deputy, at (702)464-5433 with their telephone numbers
by 4:00 p.m. on Friday, February 10, 2006.

The above counsel have been notified via facsimile this date by the undersigned courtroom deputy.

LANCE S. WILSON, Clerk
United States District Court

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KRIS L, SCHULKE, Deputy Clerk

